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IN THE UNITED STATES DISTRICT COURT BY"L- D'\.»
FOR THE WESTERN DISTRICT OF TENNESSEE]S APR 25 pH 22 32

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cARRoLL CAUDLE, ) l 'F`"`F""“KSON
)
Plaintiff, )
)
vs. ) NO. 03-1263-T/An
)
Jo ANNE B. BARNHART, )
Comrnissioner of Social Security, )
)
Defendant. )

 

ORDER GRANTING MOTION FOR APPROVAL OF ATTORNEY FEES

 

On July 14, 2004, the Court entered an order reversing the Comrnissioner of Social
Security’s decision finding the plaintiff, Carroll Caudle, not disabled, and remanded the
claim for a third administrative hearing. Judgment Was entered on July 20, 2004. On
August 12, 2004, plaintiff filed a motion for approval of attorney fees pursuant to the Social
Security Act, 42 U.S.C. § 406(b) and the Equal Access to Justice Act (“EAJA”), 28 U.S.C.
§ 2412(d). The Court entered an agreed order on October 5, 2004, awarding plaintiff
$5,000.00 under the EAJA, but finding the issue of Whether fees should be awarded under
§ 406(b) premature because it had not yet been determined that plaintiff Was entitled to past-
due benefits.

Following further administrative proceedings, benefits Were awarded to plaintiff,

including past-due benefits. On April 1, 2005, plaintiff filed a supplemental motion for the

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approval of attorney fees pursuant to 42 U.S.C. § 406(b) and the EAJA. The Cornrnissioner
has not responded to the motion.

Under § 406(b), in social security disability cases attorney fees may not exceed 25%
of the past-due benefits to which a claimant is entitled. The Social Security Administration
generally withholds 25% of past-due benefits for the potential payment of those fees. In this
case, as in many social security cases, the plaintiff and his attorney entered into a contingent-
fee agreement in which it was specifically agreed that counsel would receive that 25% fee.
Such contingent-fee agreements should be honored by the Court as long as the resulting fee
is reasonable, and there are no other factors warranting a reduction. Gisbrecht v. Barnhart,
535 U.S. 789 (2002).

ln this case, the Social Security Administration withheld 25% of plaintiff s past-due
benefits, in the sum of $19,020.55, for the payment of attorney fees under § 406(b). From
that amount, plaintiff states that the Commissioner has been asked to approve a fee of
$6,995.00 for work done at the administrative level. Thus, attorney fees may be awarded
for work done before this Court in an amount up to 312,025 .5 5 , the remaining withheld
fi.lnds.

In cases such as this one, where plaintiff has sought an award of fees for the same
work under both the EAJA and § 406(b), the EAJA award must be offset against the award
payable out of past-due benefits. M Pub. L. No. 99-80, § 3, 99 Stat. 186 (1985) (set out

as a note following 28 U.S.C. § 2412). This ensures that there is no double reoovery, and

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also allows the claimant to receive more of the past-due benefits. M Gisbrecht, 535 U.S.
at 796-97.

The Court finds that a total fee of $12,025.00, as requested by plaintiff and his
counsel, is reasonable. That amount will be offset by the $5,000.00 already paid to counsel
under the EAJA pursuant to the Court’s prior order. Accordingly, pursuant to 42 U.S.C.
§ 406(b), the Court hereby APPROVES a fee of $7,025.00, and the Social Security
Administration is directed to forward that amount to plaintiff"s counsel out of the past-due
benefits withheld The Social Security Administration will forward the remainder of the
past-due benefits withheld to the plaintiff

IT IS SO ORDERED.

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JA S D. TODD
ED STATES DISTR_ICT JUDGE

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ESSEE

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Joe H. Byrd

BYRD DONAHOE & BYRD
P.O. BoX 2764

Jackson, TN 3830]--276

Honorable J ames Todd
US DISTRICT COURT

